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                                UNITED STATES DISTRICT COURT
                                 SOUTHERNDISTRICTOF OHIO
                                       EASTERN DIVISION                               ^J               FM   !7;
                                                                                                        ' ' It-" L;;



 UNITEDSTATESOF AMERICA,
                                                          CASE NO.                    ;, Jj:'ic!\^   ^-i. OHiO
                   Plaintiff,
                                                                                            -n!V. ^O!.. UMBUS
                                                          JUDGE               ^:^3- <^fZ- (</--?
            vs.                                                               3~o^^z LO^^o>^
                                                          INDICTMENT
 MOHAMED FARAH WAES,
                                                          18 U. S. C. § 248(a)(l)
                   Defendant.                             18 U. S.C. § 875(c)
                                                          18 U. S. C. § 844(e)




THE GRAND JURY CHARGES:



       At all times relevant to this Indictment:

        1.        The defendant, MOHAMED FARAH WAES ("WAE8"), resided in or near

Columbus, Ohio, within the Southern District of Ohio.

       2.         Planned Parenthood of Greater Ohio (PPGOH) operates medical facilities

throughout Ohio, including in Columbus, Ohio, that provide reproductive healthcare services,

including abortion services. PPGOH maintains a website which clearly identifies the services it

provides.

       3.         L.L. is a call center agent employed by the Clinical Health Network for

Transformation (CHN) to answer incoming telephone calls to PPGOH.


                                           COUNT ONE

        1.        The factual allegations contained in Paragraphs 1 through 3 of the Indictment are

re-alleged and fully incorporatedby reference herein.
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       2.      On or about July 5, 2022, in the Southern District of Ohio, the defendant,

MOHAMED FARAH WAES, by threat of force, intentionally intimidated and interfered with,

and attempted to intimidate and interfere with, L.L. and the employees of PPGOH, because

PPGOHwas andhad beenproviding reproductive health services, and in order to intimidate L.L.

and the employees ofPPGOHfrom providing reproductive health services.

       All in violation of Title 18, United States Code, Section 248(a)(l).

                                       COUNT TWO

       3.      The factual allegations contained in Paragraphs 1 through 3 of the Indictment are

re-alleged and fully incorporatedby reference herein.

       4.      On or about July 5, 2022, in the Southern District of Ohio, and elsewhere, the

defendant, MOHAMED FARAH WAES, knowingly and willfully transmitted in interstate and

foreign commerce, a communication, which contained a threat to injure another person, to wit:

WAEScontactedPPGOHby telephone, spoke with L.L., and indicatedthat he would bum down

a PPGOH facility and everyone in it, or words to that effect.

       All in violation of Title 18, United States Code, Section 875(c).

                                       COUNT THREE

       5.      The factual allegations contained in Paragraphs 1 through 3 of the Indictment are

re-allegedandfully incorporatedby reference herein.

       6.      On or about July 5, 2022, in the Southern District of Ohio, and elsewhere, the

defendant, MOHAMED FARAH WAES, through the use of an instmment ofinterstate or foreign

commerce, to wit: a telephone, willfully made a threat to kill, injure, and intimidate any individual

and to unlawfully damage and destroy a building by means of fire and an explosive.
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All in violation of Title 18, United States Code, Section 844(e).



                                            A TRUE BILL.

                                            s/Foreperson
                                            GRAND JURY FOREPERSON


KENNETHL. PARKER
UNITED STATES ATTORNEY




JENIFER RXUSCH (OH 0075138)
Assistant United States Attorney


KRISTENCLARKE
ASSISTANTATTORNEYGENERAL
CIVIL RIGHTS DIVISION



             M
DANIEL GRUNERT (DC 1721133)
Trial Attorney
